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                          EXHIBIT F
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   Civil Action No. 9:19-cv-81160-RS



       APPLE INC.,

                                  Plaintiff,

             v.

       CORELLIUM, LLC,

                                Defendant.



    APPLE INC.’S VERIFIED SECOND AMENDED RESPONSES AND OBJECTIONS TO
             CORELLIUM, LLC’S SECOND SET OF INTERROGATORIES

            Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Plaintiff Apple Inc.

   (“Apple”) hereby provides its first amended responses and objections to Defendant Corellium,

   LLC’s (“Corellium”) Second Set of Interrogatories (Nos. 13–18)1 (the “Interrogatories”).

                                               DEFINITIONS

            Apple: Apple objects to the definition of “Apple” to include “any and all agents,

   representatives, and persons purporting to act on behalf of” Apple as overly broad, unduly

   burdensome and not proportional to the needs of this case. Apple will respond to the

   Interrogatories on behalf of itself, including its employees in their capacity as such, subject to

   Apple’s knowledge after a reasonable investigation.


   1
    Corellium served its First Set of Interrogatories, containing Interrogatory Nos. 1–12, on
   November 8, 2019. Corellium’s Second Set of Interrogatories does not acknowledge the
   existence of Corellium’s first 12 Interrogatories, and restarts the numbering scheme at 1. To
   avoid confusion with respect to Corellium’s Interrogatories served in this case, Apple refers to
   Corellium’s Interrogatories in its Second Set of Interrogatories as continuing the original number
   scheme, starting with 13.
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          Corellium: Apple objects to the definition of “Corellium” to include “any agents,

   officers, directors, shareholders, members or persons purporting to act on behalf of” Corellium as

   vague and ambiguous. Corellium has not produced any organizational charts or otherwise

   identified all of its agents, officers, directors, shareholders, or members. As a result, for

   purposes of responding to these requests, Apple will respond with respect to the Corellium

   employees that Corellium has identified in its initial disclosures and in communications with

   counsel for Apple.

                               RESPONSES TO INTERROGATORIES

   INTERROGATORY NO. 13 (SECOND SET NO. 1):

          List the names of all Corellium’s employees that Apple has accessed their iCloud

   account(s) and include the date(s) Apple accessed such iCloud accounts.

   Response:

          Apple objects to this Interrogatory as written as violating the privacy rights of its users.

   As a matter of regulation, policy, and practice, Apple may only access the contents of individual

   user iCloud accounts pursuant to legal process or with the consent of the user. However, upon

   conferring with counsel for Corellium, Apple understands that Corellium seeks by this

   Interrogatory only to confirm that Apple has not accessed Corellium employees’ iCloud accounts

   in connection with this litigation, the parties’ previous negotiations, or otherwise as a way for

   Apple to gain information about Corellium or its employees. Apple has not done so. As noted

   above, as a matter of regulation, policy, and practice, Apple cannot and does not access the

   contents of individual user iCloud accounts absent legal process or the consent of its users.




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   INTERROGATORY NO. 14 (SECOND SET NO. 2):

          Identify each Apple employee who has previously “informed Christopher Wade that his

   Corellium Apple Product violated Apple’s exclusive rights and that it could not be made and

   sold commercially without permission from Apple,” as stated by Apple in response to

   Interrogatory No. 2 of its Amended Answers.

   Response:

          Apple responds that Apple employee                                informed Christopher

   Wade that an iOS virtualization service could not be sold commercially without permission from

   Apple. Apple employee                 informed Christopher Wade that an iOS virtualization

   service, if sold commercially without permission from Apple was legally dubious at best. E.g.,

         Dep. Rough Tr. 60:8–13 (Mar. 19, 2020).

          Apple expressly reserves all rights to supplement, revise, and/or amend this response.

   Apple is continuing to investigate the subject matter of this Interrogatory and reserves all rights

   to supplement this response if it discovers any response, relevant, non-privileged documents or

   information.

   INTERROGATORY NO. 15 (SECOND SET NO. 3):

          Identify every intended commercial use of iOS.

   Response:

          Apple responds as follows: every Apple-authorized use of iOS is a “commercial use” as

   defined by Corellium. iOS is a mobile operating system which powers Apple’s mobile devices,

   including iPhones, iPod Touches, and older generations of iPads. Apple continuously works to

   update and to modify iOS in order to improve user experiences, advance the performance of

   devices, software, and applications, and safeguard privacy and security. iOS is protected by




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   copyright, and Apple intends to exploit its copyrighted works in every way that Apple

   determines is appropriate for the growth and development of Apple’s business.

          Given the foregoing, Apple cannot provide an exhaustive list of all intended commercial

   uses of iOS, as new uses are continually being identified and developed, and Apple’s overriding

   purpose is to grow and develop its business, including by allowing its authorized users to put iOS

   to use in ways that they see fit (consistent with their license to do so from Apple). However, the

   following is an illustrative list of some of the intended commercial uses of iOS:

          •       Provide a mobile operating system for Apple’s physical devices

          •       Provide a visually appealing and intuitive-to-use user experience via navigation
                  through touch, voice, and graphical user interfaces

          •       Seamlessly integrate into the larger environment of Apple products

          •       Facilitate communications between individuals

          •       Facilitate commerce and global business

          •       Deliver information relevant to user interests and everyday life

          •       Create and store user memories

          •       Entertain users

          •       Provide users with access to a vast third-party applications ecosystem through the
                  App Store

          •       Provide user confidence in a secure app environment

          •       Provide developers with an environment to develop and test new applications

          •       Provide researchers with the ability to refine and improve iOS and make it more
                  secure and more useful for Apple customers

          •       Protect privacy and security for personal and business data

          •       Promote development of internet applications, tools, and the worldwide
                  technology ecosystem




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          Apple expressly reserves all rights to supplement, revise, and/or amend this response.

   Apple is continuing to investigate the subject matter of this Interrogatory and reserves all rights

   to supplement this response if it discovers any response, relevant, non-privileged documents or

   information.

   INTERROGATORY NO. 16 (SECOND SET NO. 4):

          List every “technological protection measure” referred to in paragraph 73 of Apple’s First

   Amended Complaint and Demand for Jury Trial [D.E. 56], when Apple states, “Apple has

   implemented technological protection measures that . . .” and for each technological protection

   measure listed, explain how each protects the access and copying of the work or works that each

   measure is protecting.

   Response:

          Apple designs security into the core of its platforms. Every Apple device combines

   hardware, software, and services designed to work together for maximum security.



                         referred to in paragraph 73:




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           Apple expressly reserves all rights to supplement, revise, and/or amend this response.

   Apple is continuing to investigate the subject matter of this Interrogatory and reserves all rights

   to supplement this response if it discovers any response, relevant, non-privileged documents or

   information.

   INTERROGATORY NO. 17 (SECOND SET NO. 5):

           In response to Interrogatory No. 5 in Apple’s Amended Answers, Apple states that

   Corellium “

                                                                                       Explain in detail

   how the “product” would be properly licensed so as to not be allegedly infringing and otherwise

   violate Apple’s exclusive rights.

   Response:

           Apple specifically objects to this Interrogatory because it seeks, at least in part,

   information that is protected by attorney-client privilege and/or the work-product doctrine.

   Apple further objects to this Interrogatory because it calls, at least in part, for pure legal

   conclusions. Apple will answer with respect to non-privileged information, and will log any

   privileged documents upon which it relies appropriately.

           Pursuant to 17 U.S.C. § 106, “the owner of copyright . . . has the exclusive rights to do

   and authorize any of” a number of acts, including reproduction of the copyrighted work,

   preparation of derivative works based on the copyrighted work, distribution of copies of the

   copyrighted work, an in the case of pictorial and graphic works, public display of the




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    copyrighted work. Accordingly, prior to commercially marketing and distributing the Corellium

    Apple Product, Corellium should have sought a license from Apple to reproduce, prepare

    derivative works from, distribute, and/or display iOS, iTunes, and the GUI Elements as described

    in Apple’s First Amended Complaint (ECF No. 56).

           The terms of Apple’s software license agreements are available at

    www.apple.com/legal/sla. Apple’s Guidelines for Using Apple Trademarks and Copyrights are

    available at https://www.apple.com/legal/intellectual-property/guidelinesfor3rdparties.html.

    Apple’s form for questions regarding rights and permissions for further use of Apple’s

    copyrighted materials is available at https://www.apple.com/legal/contact/rights-

    permissions.html. Pursuant to Federal Rule of Civil Procedure 33(d), Apple identifies that it has

    produced these licenses and other documentation bearing on Apple’s intellectual property terms.

    They are contained at:

    APL-CORELLIUM_00040672; APL-CORELLIUM_00041082; APL-CORELLIUM_00041500;

    APL-CORELLIUM_00041736; APL-CORELLIUM_00042142; APL-CORELLIUM_00042563;

    APL-CORELLIUM_00043012; APL-CORELLIUM_00043167; APL-CORELLIUM_00043618;

    APL-CORELLIUM_00043763; APL-CORELLIUM_00043778; APL-CORELLIUM_00044014;

    APL-CORELLIUM_00044020; APL-CORELLIUM_00044037

    To discuss any questions regarding Apple’s rights or possible licenses for the Corellium Apple

    Product, Corellium should have contacted Apple’s Copyright Team.




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           Apple expressly reserves all rights to supplement, revise, and/or amend this response.

    Apple is continuing to investigate the subject matter of this Interrogatory and reserves all rights

    to supplement this response if it discovers any response, relevant, non-privileged documents or

    information

    INTERROGATORY NO. 18 (SECOND SET NO. 6):

           Describe each technology that Apple has developed, or is currently developing, that is

    parallel (or similar) to the Corellium Apple Product.

    Response:

           Apple objects to this Interrogatory and specifically to the extent that the Interrogatory

    could be read to include Apple’s internal testing and development, as well as within-Apple-only

    technologies that are not offered to the public by Apple and thus not competitive with the

    Corellium Apple Product. The Court already denied Corellium discovery regarding “Apple’s

    internal development of hypervisor, emulation, simulation, and virtualization hardware and

    software, including the names, relevant dates for such development projects” and Apple’s

    “virtualization of the iOS operating system.” See ECF No. 148 ¶ 2 (denying Corellium’s motion

    to compel Interrogatory No. 12); ECF No. 152 ¶ 3 (denying Corellium’s motion to compel

    Request for Production Nos. 20–23). Other discovery related to the same products is therefore

    inappropriate. For the same reason, Apple objects to this Interrogatory to the extent it calls for

    internal, not-offered-to-the-public technologies as irrelevant and calling for confidential or

    proprietary information pertaining to Apple’s business, trade secrets, and/or economic

    relationships. Apple will, however, respond to this Interrogatory in part (maintaining its




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    objections as to the remainder), and in particular with respect to the technologies that Apple

    offers to the public, or has announced it will offer to the public, and which it contends are

    competitive with the Corellium Apple Product. For clarity, it is not Apple’s position that these

    technologies are parallel or similar to the Corellium Apple Product. The products described

    below are not emulation or virtualization products; rather, they are products that compete in the

    same spaces as the Corellium Apple Product—i.e., application testing and development and

    product security.

           Apple responds as follows:

           Apple sells a service called the Apple Developer Program for $99 a year. The Apple

    Developer Program provides third-party developers with access to a range of Apple-created

    software development tools that allow the creation and testing of iOS apps. An example is

    TestFlight, a development tool which allows app developers to publish “beta” versions of their

    apps to testers, who can then download and test the app for a limited period of time.

           Apple also distributes a software product called Xcode that allows app developers to

    create and test iOS apps. Among the features of Xcode is one called “Simulator,” which gives

    an app developer the ability to test the app on a “virtual” iOS device. In addition, Xcode makes

    it possible to test apps on actual physical Apple devices. Although Xcode is provided without

    charge, use of the software requires agreement to specific and detailed terms and conditions of

    use, including agreement not to use Xcode to “decompile, reverse engineer, disassemble, attempt

    to derive the source code of, modify, decrypt, or create derivative works of” Apple-created

    software.

           Apple has also announced the “iOS Security Research Device Program,” under which

    Apple will provide custom versions of the iPhone to legitimate security researchers, to allow




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    them to find and report bugs to Apple.

           Apple expressly reserves all rights to supplement, revise, and/or amend this response.

    Apple is continuing to investigate the subject matter of this Interrogatory and reserves all rights

    to supplement this response if it discovers any response, relevant, non-privileged documents or

    information.




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    Dated: April 6, 2020                             Respectfully Submitted,


                                                     s/ Martin B. Goldberg

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                                   CERTIFICATE OF SERVICE

           I, Elana Nightingale Dawson, do hereby certify that on April 7, 2020, I caused a copy of

    the foregoing Apple Inc.’s Verified Second Amended Responses and Objections to Corellium

    LLC’s Second Set of Interrogatories to be served via email upon:

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                                                       s/ Elana Nightingale Dawson
                                                       Elana Nightingale Dawson




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